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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     ELKINS

 JESSICA TENNEY,

                Plaintiff,
 v.                                                          Civil Action No.: 2:19-CV-46
                                                             (JUDGE KLEEH)
 RADIUS GLOBAL SOLUTIONS,

                Defendant.


  ORDER AUTHORIZING DEPOSITIONS TO TAKE PLACE VIA VIDEO OR AUDIO
    AND DENYING PLAINTIFF’S MOTION TO COMPEL (ECF No. 15) AS MOOT

        This matter is before the undersigned pursuant to a referral order (ECF No. 16) entered by

 Honorable United States District Judge Thomas S. Kleeh on May 5, 2020, referring Plaintiff’s

 Motion to Compel Proper Discovery Responses from Defendant (ECF No. 15) to the undersigned

 for a hearing and disposition. The undersigned held status conferences in this matter on May 12,

 2020 (ECF No. 19); May 26, 2020 (ECF No. 22); June 16, 2020 (ECF No. 30); and June 17, 2020

 (ECF No. 32). These status conferences allowed the parties to continue to confer in good faith and

 attempt to resolve the issues raised by Plaintiff’s Motion to Compel (ECF No. 15).

        At the status conference held before the undersigned on June 17, 2020 (ECF No. 32), an

 issue was raised with regard to the procedure for depositions originally scheduled to take place in

 this matter on Friday, June 19, 2020, and agreed by the parties to be rescheduled for Wednesday,

 June 24, 2020. The parties raised an issue as to whether or not, under the current circumstances of

 the ongoing COVID-19 (coronavirus) pandemic, the deponent could be sworn in via video or audio

 and in a separate location from the court reporter.

        The Judicial Conference of the United States (“JCUS”) has found, pursuant to the CARES

 Act, H.R. 748 (“CARES Act”), that emergency conditions due to the national emergency declared
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 by President Donald J. Trump materially affect the functioning of the Federal Judiciary generally.

 Further, Chief Judge Groh, through a Standing Order, entered at 3:20-MC-28, recognized that

 emergency conditions exist in the Northern District of West Virginia as found by the JCUS under

 the CARES Act.

           Accordingly, upon confirmation with United States District Judge Thomas S. Kleeh, and

 there being no objection by the parties, the depositions in this matter shall be permitted to proceed

 via video and the Court Reporter shall be permitted to administer an oath to the deponent remotely,

 via video or audio, and such oath will have the same full force and effect as if administered in

 person.

           Further, regarding Plaintiff’s Motion to Compel (ECF No. 15), the undersigned

 DIRECTED the Defendant on the record at the Status Conference held on June 17, 2020, to

 produce records to the Plaintiff that document and verify the training and dates of training received

 by Defendant’s relevant employees involved with making phone calls to the Plaintiff that is the

 subject of this dispute. The Defendant was DIRECTED on the record to provide such records to

 the Plaintiff by Friday, June 19, 2020. All other issues raised in Plaintiff’s Motion to Compel

 (ECF No. 15) having been resolved by agreement on the record or supplemental production as

 represented by the parties on the record at the Status Conference held on June 17, 2020, Plaintiff’s

 Motion to Compel (ECF No. 15) is accordingly DENIED AS MOOT.

           IT IS SO ORDERED.

           The Clerk of Court is directed to provide a copy of this Order to all counsel of record as

 applicable, as provided in the Administrative Procedures for Electronic Case Filing in the United

 States District Court for the Northern District of West Virginia.

           DATED: June 19, 2020
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